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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            SOUTHERN
                                             __________ DISTRICT     OF NY
                                                        District of __________


               GEIGTECH EAST BAY LLC,                          )
                             Plaintiff                         )
                                v.                             )      Case No. 1:18-cv-05290
          LUTRON ELECTRONICS CO., INC.,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff, Geigtech East Bay LLC                                                                              .


Date:          06/13/2018                                                              /s/ Michael R. Gilman
                                                                                         Attorney’s signature


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